                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )        NO. 3:12-00076
                                                       )        JUDGE CAMPBELL
ALLEN WALKER, et al.                                   )

                                               ORDER

       Pending before the Court are Defendant Jeffrey Johnson’s Motion For Disclosure Of

Rule 404(b) Evidence (Docket No. 245) and Defendant Billy Griffith’s Motion For Disclosure

Of Rule 404(b) Evidence (Docket No. 254). Through the Motions, the Defendants request notice

of Rule 404(b) evidence the Government intends to introduce at trial at least 10 days prior to

trial. The trial in this case is scheduled for April 8, 2014.

       The Government has filed a Response (Docket No. 288) to the Motions describing the

Rule 404(b) evidence it intends to offer at trial and the basis for its admission. Based on the

Government’s notice, the Motions are DENIED as moot. The Court expresses no opinion at this

time on the admissibility of the evidence described by the Government in its Response.

       It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00076          Document 289        Filed 10/23/13     Page 1 of 1 PageID #: 911
